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UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF GEORGIA

IN RE: PAUL DARSHAN SHARMA,
Debtor,

THE KASPERS FIRM, LLC, EDWARD
SCOTT and DEBBIE RICHARDS,
Plaintiffs,

Adversary Proceeding No.
19-05002-MJK.

VS.

PAUL DARSHAN SHARMA,
Defendant.

ee

AMENDED COMPLAINT OBJECTING TO DISCHARGEABILITY OF
DEBTS AND DISCHARGE OF DEBTOR

Plaintiffs The Kaspers Firm, LLC, Edward Scott, and Debbie Richards, by
and through their undersigned counsel, hereby object to the discharge of debts
owed to them by Paul Darshan Sharma (“Defendant” or “Debtor’”), pursuant to 11
U.S.C. § 523, and also objects to the discharge, in general, of Debtor pursuant to
11 U.S.C. § 727, as follows:

JURISDICTION AND VENUE
1. The Court has jurisdiction over this adversary proceeding pursuant to 28

U.S.C. § 1334, 11 U.S.C. §§ 523(a) and 727, and Bankruptcy Rule 7001.

This adversary proceeding is one arising out of the Debtor filing a voluntary

petition under chapter 7 of the Bankruptcy Code, which is Case Number 18-

50834-MJK pending in this Court. This is a core proceeding.
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2. Venue is proper in this Court pursuant to 28 U.S.C. §§ 1408 and 1409.
FACTUAL BACKGROUND

3. On January 31, 2018, Plaintiffs filed a collective action complaint against
Defendant alleging that they and their former co-workers had been subjected
by Defendant to willful violations of the Fair Labor Standards Act (“FLSA”)
in the United States District Court for the Southern District of Georgia,
Waycross Division, Case No. 5:18-cv-6. Defendants in the FLSA case
would find homeless or indigent individuals and have them work at their
hotel in exchange for $25-$35 every two weeks, or less than 45 cents per
hour. The FLSA Defendants also required their tenants/employees to work
overtime without any compensation. Ifa tenant/employee refused to work
overtime without compensation, they were immediately evicted.

4, During the discovery phase of the Plaintiffs’ FLSA case, Defendant
provided two “Financial Statements” signed by Defendant, one on April 1,
2018 (“Exhibit 1,” hereto) and another on August 29, 2018 (“Exhibit 2,”
hereto).

5. On October 10, 2018, a mediation was held with Magistrate Judge Benjamin
Cheesbro. A Settlement Agreement was reached during which Defendant
agreed to pay Plaintiffs no less than $3,480 no later than December 21,

2018. See “Exhibit 3,” hereto at 2.
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6. On December 21, 2018, Defendant breached the Settlement Agreement by
{ailing to pay the first installment to Plaintiffs.

7. On December 22, 2018, Defendant, through counsel, informed Plaintiffs that
Defendant was unable to pay any amount to Plaintiffs, and intended to
declare for bankruptcy protection under Chapter 7.

8. On December 28, 2018, Defendant filed his petition for bankruptcy
protection with this Court.

9. A Meeting of Creditors was held on February 15, 2019 at 9:00 a.m. at the
U.S. Courtroom, 3rd Floor, Federal Building, 601 Tebeau Street, Waycross,
GA.

10.During that meeting, the Trustee elicited testimony from Defendant wherein
Defendant swore, under oath, that:

a. The $40,088.00 in debt owed to American Express, the $12,834.00
in debt owed to Discover Financial Services, as well as other credit
card debt, was incurred by paying a mortgage and expenses for a
hotel, “Comfortel Suites,” located at 1007 N Peterson Ave,
Douglas, GA.

b. Although Defendant was paying the mortgage and other bills for
Comfortel Suites, Comfortel Suites did not reimbursing Defendant

for any of those mortgage or utility payments.
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c. Instead, all of the profits/money made by Comfortel Suites was
paid directly to a bank account at SunTrust owned by Sharma
Hospitality, LLC.
d. Sharma Hospitality, LLC is owned by Defendant’s father, Shaun
B. Sharma.
e. Defendant has never been a member of Sharma Hospitality, LLC.
11.Also during the February 15, 2019 meeting of creditors, Defendant admitted
that:
a. Defendant and his wife own a 2011 Acura vehicle which has been
paid in full. Defendant did not list this asset on his Form 106A/B.
b. Defendant owns a boat. Defendant did not list this asset on his
Form 106A/B. In fact, Defendant swore, under oath, on Form
106A/B that he did not own a watercraft
12.The Annual Registration filed by Sharma Hospitality, LLC with the Georgia
Secretary of State on January 11, 2017, identifies “Paul D Sharma” as a
“Member.”
13.On March 13, 2019, in response to Defendant’s December 21, 2018 breach
of the Settlement Agreement, Plaintiffs have filed another FLSA Complaint
in the United States District Court for the Southern District of Georgia, Case

No. 5:19-cv-22.
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Legal Standard

11 U.S.C. § 727 (a), governs the grant of a discharge in a chapter 7 case.
This statute provides, in relevant part: (a) The Court shall grant the debtor a
discharge, unless (2) the debtor destroyed or transferred property within one year
before the date of the filing of the petition; (3) the debtor has concealed, destroyed,
mutilated, falsified, or failed to keep or preserve any recorded information,
including books, documents, records, and papers, from which the debtor's financial
condition or business transactions might be ascertained, unless such act or failure
to act was justified under all of the circumstances of the case; (4) the debtor
knowingly and fraudulently, in or in connection with the case - (A) made a false
oath or account; (B) presented or used a false claim; (C) gave, offered, received, or
attempted to obtain money, property, or advantage, or a promise of money,
property, or advantage, for acting or forbearing to act; or (D) withheld from an
officer of the estate entitled to possession under this title, any recorded
information, including books, documents, records, and papers, relating to the
debtor's property or financial affairs; or (5) the debtor has failed to explain
satisfactorily, before determination of denial of discharge under this paragraph, any

loss of assets or deficiency of assets to meet the debtor's liabilities.
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In Jn re Chalik, the Eleventh Circuit stated that “[t]he subject matter of a
false oath is ‘material,’ and thus sufficient to bar discharge, if it bears a
relationship to the [bankruptcy] . . . estate[.]” In re Chalik, 748 F.2d at 618. All
items in question in this case bear a relationship to the estate because each omitted
item was properly property of the estate. Defendant’s estimate that the items were
of no value has no bearing on his creditors’ rights “to judge for themselves what
will benefit, and what will prejudice, them.” Id. The omission of an exemptible
item of property is material to the case because debtors are not automatically
entitled to any particular exemption. Defendant had the nght to claim exemptions
pursuant to Section 522, but he had to follow the procedure specified in Federal
Rule of Bankruptcy Procedure 4003(a). This rule, requiring debtors to list their
claimed exemptions on their schedules of assets, compliments the rights of
creditors to review claimed exemptions and, if appropriate, object to them pursuant
to Rule 4003(b). In asking the Court to condone his omissions, Defendant
effectively asks the Court to negate his creditors’ rights to object to his claimed
exemptions.
Argument

Defendant made a number of material misstatements and knowing
omissions, under oath, to this Court and his creditors. More alarming is the

scheme used by Defendant to take advantage of the bankruptcy protections
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afforded by Chapter 7 applicants wherein Defendant incurred tens of thousands of
dollars in debt by paying the financial obligations of his father’s company (Sharma
Hospitality, LLC) but, instead of reimbursing Defendant for those debts, Sharma
Hospitality, LLC took all of the proceeds from that company and left Defendant to
declare bankruptcy in an attempt to discharge those debts.

Defendant should have never filed for bankruptcy. A reimbursement by
Sharma Hospitality of the amounts spent by Defendant on its behalf would have
(1) paid off all of the credit card debt incurred by Defendant on behalf of Sharma
Hospitality, LLC and (2) allowed Defendant to meet his financial obligations to
Plaintiffs’.

Furthermore, Defendant made a number of omissions and misstatements in
the “Property Schedule” Defendants submitted to this Court after confirming,
under oath, that the contents of that schedule were accurate and complete. For
example, Defendant’s August 29, 2018, Financial Statement identifies a “Boat”
which was not identified in Defendants’ “Property Schedule.” Defendant’s
“Property Schedule” identifies a “Sea Doo Jet Ski” and “Chevrolet El Camino”
with a combined value of $1,500. Defendant’s August 29, 2018 Financial

Statement lists the value of the “El Camino- Model 78, Jet Ski, [and] Boat” at

 

' Defendant and the Plaintiffs agreed to a structured settlement payment plan,
which would be accelerated in the event Defendant failed to make a payment.
Defendant failed to make the first payment, making the entire $35,000.00 due
immediately.
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$4,500. See Exhibit 2,” hereto. Accordingly, pursuant to Defendant’s valuation,
the boat which Defendant failed to disclose to this Court has a value of $3,000.

On April 1, 2018, Defendant stated that he had $15,000 in personal property.
That number was decreased to $4,500 by August 29, 2018, but Defendant has
nowhere explained to this Court or his creditors what happened to the $10,500 in
personal property which Defendant disposed of between April 1 and August 29,
2018. Compare “Exhibit 1,” with “Exhibit 2,” and Defendant’s “Property
Schedule.”

Defendant’s April 1 Financial Statement states that he had, as of that date,
incurred $21,100 in credit card debt. Defendants’ August 29, 2018 Financial
Statement states that he had, as of that date, incurred $29,100 in credit card debt.
Accordingly, in the nearly five months between financial statement, Defendant had
incurred $8,000 in credit card debt. However, Defendant’s December 28, 2019
bankruptcy petition identifies no less than $56,545 in credit card debt.
Accordingly, in the four intervening months between August 29, 2018 and
Defendant’s bankruptcy petition, Defendant allegedly incurred $27,445, where he
had only incurred $8,000 in credit card debt during the preceding five months.
‘This substantial, and rapid, increase in debt raises questions regarding the accuracy

of, and motive behind, Defendant’s bankruptcy petition.
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Defendant’s misstatements to this Court should not be tolerated. It is
undeniable that Defendant committed perjury in attempting to have this Court
discharge debts that were seemingly incurred on behalf of a company to which he
claims to have no ownership interest, and which is owned by Defendant’s father.
The bankruptcy code is intended to provide assistance to individuals in legitimate
need of help, not to financially enrich family members of petitioners.

COUNT I

Non-dischargeability of Debts Pursuant to 11 U.S.C. § 523 (a\(2) for improperly
transferring property to his father

 

Defendant incurred tens of thousands of dollars in credit card debt in 2018
by paying bills owed by Sharma Hospitality, LLC, his father’s company.

All of the proceeds from the hotel owned by Sharma Hospitality, LLC were
kept by Sharma Hospitality, LLC or Defendant’s father instead of being used to
reimburse Defendant for the debts he incurred on their behalf.

Defendant incurred tens of thousands of dollars in debt while allowing his
father to directly benefit from that debt.

The tens of thousands of dollars of debt incurred by Defendant on behalf of
his father’s company in 2018 is more than sufficient to pay the $35,000.00 owed to
Plaintiffs.

COUNT I
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Non-dischargeability of Debts Pursuant to 11 U.S.C. § 523 (a)(3) for failing to
maintain financial documents relating to his employment with Sharma Hospitality,
LLG

No financial information relating to the tens of thousands of dollars in
mortgage and utility payments made by Defendant on behalf of Sharma
Hospitality, LLC in 2018was provided by Defendant.

No financial information relating to any amount paid by the Comfortel
Suites hotel to Sharma Hospitality, LLC was produced. No financial information
relating to any amount paid by Sharma Hospitality, LLC to Defendant’s father,
Shaun Sharma, was produced. Without this information, it is impossible for
Plaintiffs or this Court to “follow the money” from the hotel’s customers to
Defendant’s father, as opposed to using proceeds from the hotel’s customers to
reimburse Defendant for the tens of thousands of dollars of debt incurred by
Defendant on behalf of Sharma Hospitality, LLC and Shaun Sharma.

COUNT III

Non-dischargeability of Debts Pursuant to 11 U.S.C. § 523 (a)\(4) for knowingly
concealing property from his creditors

 

 

Defendant signed his voluntary petition, schedule and statement of financial
affairs under penalty of perjury on December 28, 2018.
On February 16, 2019, the trustee commenced the meeting of creditors

pursuant to 11 U.S.C. § 341. At the meeting the Defendant appeared and

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reaffirmed, under oath, the accuracy and completeness of his voluntary petition,
schedules and statement of financial affairs.

Official Bankruptcy Form “Schedule B - Personal Property” required
Defendant to disclose all of his personal property assets. Plaintiffs allege that the
Defendant did not disclose all of his personal property assets and knowingly and
fraudulently, in connection with this case, made false oaths or accounts regarding
the disposition, ownership, and transfer of assets in order to prevent such assets
from being reachable by creditors.

Defendant owns a boat which was not disclosed on the “Schedule B-
Personal Property” that Defendant submitted to this Court. Defendant’s failure to
disclose an interest his boat was a knowing and fraudulent making of a false oath
or account in connection with his bankruptcy case.

A vehicle owned jointly by Defendant and his wife, a 2011 Acura, was not
listed on Defendant’s “Schedule B.” The Debtor had an interest in the 2011 Acura
that should have been disclosed on Schedule B. Defendant’s failure to disclose an
interest in the 2011 Acura was a knowing and fraudulent making of a false oath or
account in connection with his bankruptcy case.

COUNT IV

Non-discharge Under 11 U.S.C. § 727(a)(3) for failing to maintain financial
documents relating to his employment with Sharma Hospitality, LLC

 

 

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No financial information relating to the tens of thousands of dollars in
mortgage and utility payments made by Defendant on behalf of Sharma
Hospitality, LLC in 2018was provided by Defendant.

No financial information relating to any amount paid by the Comfortel
Suites hotel to Sharma Hospitality, LLC was produced. No financial information
relating to any amount paid by Sharma Hospitality, LLC to Defendant’s father,
Shaun Sharma, was produced. Without this information, it is impossible for
Plaintiffs or this Court to “follow the money” from the hotel’s customers to
Detendant’s father, as opposed to using proceeds from the hotel’s customers to
reimburse Defendant for the tens of thousands of dollars of debt incurred by
Defendant on behalf of Sharma Hospitality, LLC and Shaun Sharma.

Detailed financial information relating to the financial interplay between
Defendant, Sharma Hospitality, LLC and Shaun Sharma was repeatedly requested
by Plaintiffs in their underlying FLSA lawsuit, but that information was never
provided. Accordingly, it is apparent that Defendant has failed to properly
maintain financial records necessary to determine the adequacy and validity of his
bankruptcy petition in violation of 11 U.S.C. § 727(a)(3).

WHEREFORE, Plaintiffs pray for relief as follows:
1. With respect to Count I, enter judgment and an order denying Defendant a

discharge with respect to the Settlement Agreement entered into between

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Plaintiffs and Defendant, and impose attorneys’ fees and costs to Plaintiffs
pursuant to 11 U.S.C. § 523(a)(2);
With respect to Count II, enter judgment and an order denying Defendant a

discharge pursuant to 11 U.S.C. § 727(a)(3);

. With respect to Count II, enter judgment and an order denying Defendant a

discharge pursuant to 11 U.S.C. § 727(a)(5);

. For an award of costs and attorneys’ fees incurred in prosecuting this action;

and

For such other and further relief as this court deems just and proper.

Dated this 7th day of May, 2019

“Tyfer B. Kaspers, Ga. Bar No445708
THE KASPERS FIRM, LLC

152 New Street, Suite 109B

Macon, GA 31201

404-944-3128

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Counsel for Plaintiffs

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UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF GEORGIA

IN RE: PAUL DARSHAN SHARMA,
Debtor,

THE KASPERS FIRM, LLC, EDWARD
SCOTT and DEBBIE RICHARDS,
Plaintiffs,

Adversary Proceeding No.
19-05002-MJK

VS.

PAUL DARSHAN SHARMA,
Defendant.

ee

CERTIFICATE OF SERVICE

The undersigned hereby certifies that on the below date a genuine copy of
the within and foregoing AMENDED COMPLAINT OBJECTING TO
DISCHARGEABILITY OF DEBTS AND DISCHARGE OF DEBTOR with the
Clerk of the Court by using the Court’s CM/ECF system, and by hand-delivering a
copy of same to:
Paul Darshan Sharma
1007 Peterson Ave N

Douglas, GA 31533

This 7th day of May, 2019.

 

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Ad é L
Tyler B. Kaspers Lo

Georgia Bar No. 445708

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THE KASPERS FIRM, LLC
152 New Street, Suite 109B
Macon, GA 31201

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